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                              Exhibit 1
      State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                        Abbott Laboratories, Inc., et al.

   Exhibit to Plaintiffs’ Request for Judicial Notice in Support of Plaintiffs’
   Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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